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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

TERESA MARTINEZ,

         Petitioner,

-vs-                                                              Criminal Case No. 8:02-CR-19-T-27EAJ

ALBERTO GONZALES, et al.,

      Respondents.
______________________________/
                                                         ORDER

         This matter is before the Court upon Petitioner’s Habeas Corpus Petition Pursuant to the Original

Habeas Corpus and Request for Dismissal of the Indictment and Conviction and Request for Declaratory

Judgment (Dkt. 546).1 Petitioner challenges the legality of her conviction and sentence.

                                                       Background

         Petitioner was charged in six counts of a fifty-five count Indictment with conspiracy to commit

Medicaid and Medicare fraud (Count 1) in violation of 18 U.S.C. § 371 and five counts of submitting

false claims to Medicaid and Medicare (Counts 4, 15, 16, 21 and 23) in violation of 18 U.S.C. § 287.

Following a jury trial, Petitioner was found guilty on Counts 1, 4, 15, 21 and 23 and not guilty on Count

16. Petitioner was sentenced to a term of imprisonment of fifty-one months on each count to run

concurrently, followed by three years of supervised release, a fine in the amount of $2,579,069.00 and

a $200.00 special monetary assessment. Petitioner filed a direct appeal. The United States Court of

Appeals for the Eleventh Circuit affirmed her convictions on March 5, 2004 (Dkt. 518). See United

States v. Martinez, 99 Fed.Appx. 880 (Table) (11th Cir. 2004). Petitioner filed the instant civil action


         1
           To the extent that the instant petition was not filed as one brought pursuant to 28 U.S.C. § 2241 or 28 U.S.C.
§ 2255, this matter was docketed in Petitioner’s underlying criminal case. Accordingly, references to the docket cited
herein refer to the criminal case.
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on September 12, 2006.2

         In her pleading, Petitioner contends that the district court had no jurisdiction to convict her and

therefore her convictions and sentence are illegal. She claims to bring this action pursuant to the “original

habeas corpus” and not as a motion or petition pursuant to 28 U.S.C. § 2255 or 28 U.S.C. § 2241, as those

statutes are “nullities” that were “never enacted into positive law and are unconstitutional on their face.”

Petitioner asserts that Public Laws 80-772 and 80-773, as well as 18 U.S.C. § 3231 are likewise

unconstitutional and are null and void ab initio. She also claims that the last valid habeas statute, 28

U.S.C. § 451, was repealed thereby making it a nullity. Additionally, Petitioner argues she is actually

innocent of the crimes for which she was convicted and that her attorney was ineffective in various ways.

                                                        Discussion

         As a threshold matter, the Court must evaluate the nature of Petitioner’s pleading. It appears from

the text of the pleading that Petitioner is challenging the validity of her conviction and sentence.

Petitioner attempts to present her claims pursuant to 28 U.S.C. § 451 (1940).3 In 1940, § 451 provided

authority for the district courts to issue a writ of habeas corpus. See Walker v. Johnson, 312 U.S. 275,

283, 61 S.Ct. 574, 578, 85 L.Ed. 830 (1941) (“the statutes of the United States declare that ... the district

courts shall have power to issue writs of habeas corpus”). The current version of § 451 provides

definitions for terms relating to Title 28, Judiciary and Judicial Procedure, and does not provide a


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          See Washington v. United States, 243 F.3d 1299, 1301 (11th Cir. 2001) (pro se prisoner’s § 2255 motion is
deemed filed on the date it is delivered to prison authorities for mailing which, absent evidence to the contrary, is
presumed to be the date the prisoner signed it); see also Adams v. United States, 173 F.3d 1339 (11th Cir. 1999) (pro
se prisoner’s motion to vacate is deemed filed the date it is delivered to prison authorities for mailing).

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            Petitioner contends that 28 U.S.C. § 451 (1940) is the “last valid habeas statute.” She does note, however,
that this statute was repealed and to the extent that it is “part of the fraudulent enactment of Public Law 80-773, it too
is a nullity.” (Dkt. 546, p. 6). Notwithstanding, because she clearly states that this matter is not one brought pursuant
to 28 U.S.C. § 2241 or 28 U.S.C. § 2255 and given that she provides no other basis upon which she can bring this action,
the Court will first consider her petition pursuant to 28 U.S.C. § 451 as presented.

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statutory basis for a cause of action. See 28 U.S.C. § 451; Jones v. Unknown Warden, 2006 WL 389833

at *1 (E.D. Mo. 2006). As such, the Court is without jurisdiction to entertain the instant action as

currently framed. Id. Therefore, to the extent that Petitioner seeks relief pursuant to a writ of habeas

corpus, the Court will evaluate Petitioner’s pleading under 28 U.S.C. § 2241 and 28 U.S.C. § 2255. See

Castro v. United States, 540 U.S. 375, 381-82, 124 S.Ct. 786, 791-92, 157 L.Ed.2d 778 (2003) (federal

courts may recharacterize a pro se litigant’s motion to avoid unnecessary dismissal or to create a better

correspondence between the substance of the motion and its underlying legal basis) (internal citations

omitted).

        Generally, a § 2241 petition is used to challenge the manner in which a sentence is executed. See

Jeffers v. Chandler, 253 F.3d 827,830 (5th Cir. 2001) (citation omitted). Alternatively, a motion filed

pursuant to § 2255 is the primary means by which a petitioner may attack the validity of her conviction

or sentence. However, under the “savings clause” of § 2255,4 a petitioner may file a § 2241 petition if

she can demonstrate that an otherwise available remedy under § 2255 is inadequate or ineffective to test

the legality of her detention. Sawyer v. Holder, 326 F.3d 1363, 1365 (11th Cir. 2003); see also Wofford

v. Scott, 177 F.3d 1236, 1238 (11th Cir. 1999). The savings clause applies when (1) a claim is based

upon a retroactively applicable Supreme Court decision; (2) the holding of the Supreme Court decision

established that the petitioner was convicted for an offense that is now nonexistent; and (3) circuit court

law squarely foreclosed such a claim at the time it otherwise should have been raised in the trial, appeal,


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            The “savings clause” provides:

        An application for a writ of habeas corpus in behalf of a prisoner who is authorized to apply for relief by motion
        pursuant to this section, shall not be entertained if it appears that the applicant has failed to apply for relief, by
        motion, to the court which sentenced him, or that such court has denied him relief, unless it also appears that
        the remedy by motion is inadequate or ineffective to test the legality of his detention.

28 U.S.C. § 2255.

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or first § 2255 motion. Sawyer, 326 F.3d at 1365 (citing Wofford, 177 F.3d at 1244). All three criteria

must be satisfied in order for a petitioner to proceed under the savings clause. Flores v. McFadden, 152

Fed.Appx. 913, 914 (11th Cir. 2005), cert. denied, 126 S.Ct. 2342 (2006). The burden of demonstrating

inadequacy or ineffectiveness of a § 2255 motion rests on the petitioner. Jeffers, 253 F.3d at 830.

        In the instant case, a review of the docket shows that Petitioner has not filed a § 2255 motion.5

Accordingly, because she has not pursued her available remedies through the proper procedural channels

and afforded the sentencing court an opportunity to evaluate any of the claims she attempts to present in

the instant pleading, she cannot demonstrate that § 2255 in an adequate or ineffective remedy such that

she would be permitted to proceed under § 2241. See Flores, 152 Fed.Appx. At 914; Jeffers, 253 F.3d

at 830. Given this and the fact that Petitioner’s claims challenge the validity of her underlying conviction

and sentence, her claims would be cognizable, if at all, in a § 2255 motion. However, prior to the Court

construing Petitioner’s instant pro se pleading as a § 2255 motion, it must apprise Petitioner of the

potential consequences of doing so.              See Castro, 540 U.S. at 383, 124 S.Ct. at 792 (before

recharacterizing a pro se litigant’s motion as an initial § 2255 motion, the district court must warn the

movant of its intent to do so and provide an opportunity to withdraw or amend the motion).

        Petitioner is hereby advised that if the Court considers her pleading pursuant to § 2255, she is

likely to be barred in the future from filing a second or successive motion under § 2255. The AEDPA

prohibits federal prisoners from attacking their convictions through successive habeas corpus petitions




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           Petitioner did file a “Motion for Relief of Sentence for Lack of Enactment of Title 18, Subject Matter,
Territorial Jurisdiction, Unqualified Grand Jury, Inspection of Jury List” (Dkt. 544) on July 18, 2006 in which she
appears to have sought release from custody. By order entered on July 20, 2006 this Court denied Petitioner’s motion
as patently frivolous (Dkt. 545). Petitioner’s motion was not construed as a § 2255 motion and she has not filed any
other post-conviction motion that has been construed as such.

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except under a few limited circumstances.6 Thus, Petitioner has three options: (1) she may have the Court

rule on the instant petition as filed; or (2) she may have the Court recharacterize her petition as a motion

to vacate pursuant to 28 U.S.C. § 2255 and show cause why the petition should not be dismissed as

untimely; or (3) she may withdraw the instant petition.

        Title 28, United States Code, Section 2255 provides the framework for reviewing a federal

prisoner’s sentence under four circumstances: (1) the sentence was imposed in violation of the

Constitution or laws of the United States; (2) the court was without jurisdiction to impose such a

sentence; (3) the sentence was in excess of the maximum authorized by law; or (4) the sentence is

otherwise subject to collateral attack. 28 U.S.C. § 2255. Collateral relief under § 2255 “is reserved for

transgressions of constitutional rights and for that narrow compass of other injury that could have been

raised on direct appeal and would, if condoned, result in a complete miscarriage of justice.” Richards

v. United States, 837 F.2d 965, 966 (11th Cir. 1988). Generally, only constitutional claims, jurisdictional

claims and claims of error so fundamental as to have resulted in a complete miscarriage of justice are

cognizable in a § 2255 motion for relief. See United States v. Addonizio, 442 U.S. 178, 184-86, 99 S.Ct.

2235, 60 L.Ed.2d 805 (1979).



        6
            Specifically, § 2255 provides in relevant part:

        A second or successive motion must be certified as provided by section 2244 by a panel of the appropriate court
        of appeals to contain -

        (1)         newly discovered evidence that, if proven and viewed in light of the evidence as a whole, would be
                    sufficient to establish by clear and convincing evidence that no reasonable factfinder would have found
                    the movant guilty of the offense; or

        (2)         a new rule of constitutional law, made retroactive to cases on collateral review by the Supreme Court,
                    that was previously unavailable.

28 U.S.C. § 2255.



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         The Antiterrorism and Effective Death Penalty Act (“AEDPA”), effective April 24, 1996,

amended § 2255 and established a one year limitation period for motions filed pursuant to § 2255. See

Goodman v. United States, 151 F.3d 1335, 1336 (11th Cir. 1998). Specifically, § 2255 provides that the

one year limitation period shall run from the latest of:

         (1)  the date on which the judgment of conviction becomes final;
         (2)  the date on which the impediment to making a motion created by governmental action in
              violation of the Constitution or laws of the United States is removed, if the movant was
              prevented from making a motion by such governmental action;
       (3)    the date on which the right asserted was initially recognized by the Supreme Court, if that
              right has been newly recognized by the Supreme Court and made retroactively applicable
              to cases on collateral review; or
       (4)    the date on which the facts supporting the claim or claims presented could have been
              discovered through the exercise of due diligence.
28 U.S.C. § 2255.

         Petitioner was convicted on January 31, 2003 and was sentenced on April 14, 2003 (Dkt. 366,

417). She filed a direct appeal in the United States Court of Appeals for the Eleventh Circuit which

affirmed her convictions on March 5, 2004 (Dkt. 518). See United States v. Martinez, 99 Fed.Appx. 880

(Table) (11th Cir. 2004). Petitioner did not petition the United States Supreme Court for a writ of

certiorari. Thus, her petition became final on June 3, 2004 after entry of the appellate court’s judgment

affirming her convictions.7 Accordingly, she had until June 3, 2005 in which to file a timely § 2255

motion. Petitioner did not file the instant civil action until September 12, 2006 (Dkt. 546). Pursuant to

the limitation period outlined in § 2255, it appears that if Petitioner’s pleading is construed as a motion

to vacate pursuant to § 2255, it is time barred. Notwithstanding, prior to the Court dismissing her petition

should she elect to pursue her claims under § 2255, Petitioner shall show cause why her motion should



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            W hen a defendant does not file a petition for writ of certiorari with the United States Supreme Court, her
convictions become “final” for purposes of 28 U.S.C. § 2255 upon expiration of the ninety day period for seeking
certiorari review. See Kaufmann v. United States, 282 F.3d 1336, 1338 (11th Cir. 2002).

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not be dismissed as untimely.8

         Accordingly, is hereby ORDERED AND ADJUDGED that:

         1.        Within twenty (20) days of the date of entry of this Order, Petitioner shall advise the Court

under which of the three options she wishes to pursue for the Court to consider the instant civil action.

If Petitioner fails to select an option, the Court will proceed to resolve the motion as filed and will not

recharacterize it as a § 2255 motion to vacate;

         2.        If Petitioner elects to have the Court consider the instant petition as a motion to vacate

pursuant to § 2255, she shall show cause, within twenty (20) days of the date of entry of this Order, why

her motion should not be dismissed as untimely; and

         3.        Upon the filing of Petitioner’s response to this Order, Respondent shall have twenty (20)

days from that date to file its response to Petitioner’s motion.

         DONE AND ORDERED in Tampa, Florida, on October 18th, 2006.




                                                          /s/James D. Whittemore
                                                          JAMES D. WHITTEMORE
                                                          United States District Judge
SA:kaw

Copies to:
Pro Se Petitioner
United States Attorney




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            See Day v. McDonough, __ U.S. __, 126 S.Ct. 1675, 1684 (April 25, 2006) (district courts may consider sua
sponte the timeliness of a state inmate’s habeas petition but must accord the parties fair notice and an opportunity to
present their positions); see also Gay v. United States, 816 F.2d 614, 616, n. 1 (11th Cir. 1987) (stating that the principles
developed in § 2254 habeas cases also apply to § 2255 motions) (citation omitted).

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